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 RICHARD FRIEDMAN PLLC
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 (212) 600-9539
 Attorneys for Plaintiff
 Michael J. DeMarco


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

 ------------------------------------------------------------------X
                                                                    :
 MICHAEL J. DEMARCO,                                                :
                                                                      Civ. Action No. 2:22 – CV– 06135
                                                                    :
                                              Plaintiff,            :
                                                                    :
                   v.                                               :
                                                                      CERTIFICATE OF SERVICE
                                                                    :
 VERIS RESIDENTIAL, INC. (F/K/A Mack-Cali                           :
 Realty Corporation),                                               :
                                                                    :
                                              Defendant.            :
 ------------------------------------------------------------------X

       Richard B. Friedman, Esq., an attorney duly admitted to the bar of the State of New York,

hereby declares under penalty of perjury that the following statements are true:

       1.      I am the principal of Richard Friedman PLLC, counsel to Plaintiff in the above-

referenced matter.

       2.      On October 20, 2022, upon consent of Defendant’s counsel Seyfarth Shaw LLP

(“Seyfarth”) to accept service of the Summons and Complaint on behalf of Defendant, I served the

Summons and Complaint in this action on Defendant by emailing a copy of the Summons and

Complaint (with the exhibits to the Complaint) to the following counsel for Defendant at Seyfarth

at the following email addresses:
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            Oslick, Jacob <JOslick@seyfarth.com>
            Kesselman, Dov <DKesselman@seyfarth.com>
            Napoli, John P. <JNapoli@seyfarth.com>

       3.        I also certify that today I have caused this certification to be sent by email to

Defendant’s Counsel, Jacob Oslick, Esq., at the previously stated email address.

Dated: October 21, 2022
       New York, New York



                                                                  Respectfully submitted,

                                                                  /s/ Richard B. Friedman
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